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      In The United States Court of Federal Claims
                                          No. 04-1366C

                                  (Filed: December 18, 2009)
                                          __________
 SPECTRUM SCIENCES & SOFTWARE, INC.,

                             Plaintiff,

        v.

 THE UNITED STATES,

                             Defendant.
                                           _________

                                            ORDER
                                           __________

        On December 17, 2009, the court conducted a pre-trial conference in this case.
Participating in this conference were Craig Holman, for plaintiff, and Lauren Moore, for
defendant. For the reasons discussed at this conference, the court hereby orders the
following:

       1.     Trial will commence at 10:00 a.m. (EST) on Thursday, January 14, 2010,
              at the United States Court of Federal Claims, Courtroom #5, 717 Madison
              Place, Washington, DC 20005 . Each subsequent day of trial will begin at
              9:30 a.m. (EST), unless otherwise ordered.

       2.     On or before January 7, 2010, the parties shall file a joint stipulation of
              undisputed facts. The court expects that stipulation to be extensive.
              Failure to file a sufficiently comprehensive stipulation will result in an
              order requiring the parties to re-file a revised stipulation that comports
              with the court’s expectations.

       3.     The parties shall each have twenty minutes for opening statements.
              Plaintiff will go first, then defendant.

       4.     Regarding exhibits:

              a.      At the outset of trial, it is the court’s intent to admit en masse any
                      exhibits to which there are no objections. At the outset of trial,
                      the court will rule on any objections to exhibits that do not require
                      live testimony. Objections to exhibits that require live testimony
                      will be considered at the appropriate time. The parties shall
                      consult with each other and avoid introducing duplicate exhibits.
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            Authenticity objections shall be raised among counsel as soon as
            possible, due to the difficulty in addressing such objections during
            testimony.

     b.     At the beginning of trial, the parties shall supply six pre-marked
            copies of the exhibits they intend to offer in this case. The copies
            shall be in binders, with tabbed dividers between each individual
            exhibit. Colored exhibit stickers shall be affixed only to the
            original copy of the exhibits (which will be provided to the
            reporter). Defendant shall use blue stickers; plaintiff shall use any
            color other than blue. The parties shall ensure that the pagination
            of individual exhibits is easily identifiable, and shall review the
            exhibits for completeness prior to trial.

5.   Regarding witnesses:

     a.     The parties shall coordinate regarding the order of witness
            presentations, particularly in the calling of common witnesses.

     b.     Each party shall notify the other as soon as possible if a
            determination is made not to call someone on its witness list.

     c.     Based on the anticipated schedule, the parties are hereby instructed
            to have adequate witnesses available and prepared to testify on
            each day of trial, so as to ensure that each day of the trial
            proceedings is fully utilized.

     d.     Counsel are reminded of the court’s expectation that the direct
            examination of witnesses shall be crisp and shall not unduly elicit
            information already in the record (e.g., stipulated matters).

6.   The court will require post-trial briefing in this case. The schedule for
     such briefing will be established at the conclusion of trial.

7.   Closing argument will be held following the conclusion of post-trial
     briefing on a date to be established.

8.   Counsel are reminded of the court’s expectation that they will attempt to
     resolve as many matters as possible through cooperation.

IT IS SO ORDERED.


                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge

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